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 1   JEREMY T. ELMAN (SBN 223696)
 2   Jeremy.Elman@allenovery.com
     ALLEN & OVERY LLP
 3   10250 Constellation Blvd, Suite 1000
 4   Los Angeles, California 90067
     Telephone: (650) 388-1650
 5   Facsimile: (650) 388-1699
 6
     FERNANDO J. MENENDEZ, JR. (pro
 7   hac vice application forthcoming)
 8   fmenendez@sequorlaw.com
     FRANCIS CURIEL (pro hac vice
 9   application forthcoming)
10   fcuriel@sequorlaw.com
     SEQUOR LAW
11   1111 Brickell Avenue, Suite 1250
12   Miami, FL 33131
     Telephone: (305) 372-8282
13
     Facsimile: (305) 372-8202
14
     Attorneys for Plaintiff SAFETY PPE,
15
     LLC
16                       UNITED STATES DISTRICT COURT
17                     CENTRAL DISTRICT OF CALIFORNIA
18                                 WESTERN DIVISION
19
20    SAFETY PPE, LLC,                            Case No. 2:22-cv-01814
21                                                COMPLAINT
                     Plaintiff,
22
                                                  DEMAND FOR JURY TRIAL
            v.
23
24    SKANDA GROUP OF INDUSTRIES
25    LLC, NAGENDRA KARRI, an
      individual, and 1221 SKAI
26    INVESTMENTS LLC,
27
                     Defendants.
28

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 1                                       COMPLAINT
 2         Plaintiff Safety PPE LLC (“Plaintiff” or “SPPE”), by and through its
 3   attorneys, and for its Complaint against Skanda Group of Industries LLC
 4   (“Skanda”), Mr. Nagendra Karri (“Karri”), and 1221 Skai Investments LLC (“1221
 5   Skai Investments” and, together with Skanda and Karri, the “Defendants”), hereby
 6   alleges as follows:
 7                               JURISDICTION & VENUE
 8         1.     This Court has jurisdiction over the subject matter of this action
 9   pursuant to 28 U.S.C. §§ 1332.
10         2.     Plaintiff is a citizen of the State of Florida.
11         3.     All the members of Plaintiff are citizens of the State of Florida.
12         4.     Plaintiff has its principal place of business in Florida at 1313 Ponce De
13   Leon Boulevard, Suite 200, Coral Gables, Florida 33134.
14         5.     Plaintiff is a member-managed LLC registered to do business in the
15   State of Florida. FAMB LLC is the sole member of Plaintiff. Frank C. Quesada is
16   the sole member of FAMB LLC, and is a citizen of the State of Florida.
17         6.     Defendant Skanda is a citizen of the State of California.
18         7.     All the members of Skanda are citizens of the State of California.
19         8.     Skanda has its principal place of business in California at 2029
20   Century Park East, Suite 400 N, Los Angeles, California, 90067.
21         9.     Skanda regularly conducts business in the State of California.
22         10.    Skanda is a member-managed California LLC registered to do
23   business in the State of California at 2029 Century Park East, Suite 400 N, Los
24   Angeles, California, 90067. On September 8, 2020, Skanda converted from a
25   Louisiana LLC to a California LLC.
26         11.    Skanda’s three members are citizens of the State of California: co-
27   defendant Nagendra Karri (who is also Skanda’s registered agent for service of
28   process), Ms. Chetna Jhamb, and Ms. Nisha Yogeeshwara. The three members of

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 1   Skanda have all listed the following address with the California Secretary of State
 2   in their corporate submissions as their personal address: 20940 Community Street,
 3   Canoga Park, CA 91304.
 4           12.    Defendant Karri is a citizen of the State of California. Karri’s business
 5   address is 2029 Century Park East, Suite 400 N, Los Angeles, California, 90067.
 6   Although Karri has listed his personal address with the California Secretary of State
 7   as 20940 Community Street, Canoga Park, CA 91304, his actual residence is at 16
 8   Mustang Lane, Bell Canyon, California 91307 (the “Mustang Lane Property”),
 9   which is a property owned in the name of the recently-formed 1221 Skai
10   Investments.
11           13.    Defendant 1221 Skai Investments is a California limited liability
12   company registered to do business in the State of California at 18500 Pioneer Blvd,
13   Suite 204, Artesia, California 90701.
14           14.    The sole Member and President of 1221 Skai Investments is Ms.
15   Sujatha Karri, who, upon information and belief, is Defendant Nagendra Karri’s
16   mother. Sujatha Karri has listed the following address in her corporate submission
17   with the California Secretary of State as her personal address: “Seethmadhara Near
18   Krishna Mandir”, “Visakhapatnam (other country)”, 530013, which is in India.
19           15.    Defendants Skanda and Nagendra Karri were recently sued in the
20   United States District Court for the Western District of Louisiana, in the matter
21   styled Talbot’s Phamaceuticals Family Products, LLC v. Skanda Group of
22   Industries LLC, et al., Case 3:20-cv-00716-TAD-KDM. In that matter, Skanda and
23   Karri filed a motion to dismiss for lack of personal jurisdiction on the ground that
24   both Skanda and Karri are citizens of the State of California pursuant to 28 U.S.C. §
25   1332. Skanda argued that Skanda is a Los Angeles, California-based medical
26   supply wholesaler, of which Karri is the Managing Member and President. Skanda
27   further argued that it moved its entire operations to Los Angeles, California in
28   2017.

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 1          16.    Plaintiff recently sued Defendants Skanda and Karri in this Court, the
 2   United States District Court for the Central District of California, in the matter
 3   styled Safety PPE, LLC v. Skanda Group of Industries LLC, et al., Case No. CV-
 4   21-3967-JFW(PDx) (the “Pending C.D. Cal. Action”), which case remains pending
 5   as of the date of this filing.
 6          17.    Because Plaintiff is a citizen of the State of Florida, while Defendants
 7   Skanda and Karri are both citizens of the State of California, and Defendant 1221
 8   Skai Investments’ only Member, Sujatha Karri, is a citizen of India, there is
 9   complete diversity of citizenship between Plaintiff and Defendants to establish that
10   diversity jurisdiction exists.
11          18.    The parties are citizens of different states and the amount in
12   controversy exceeds $75,000.
13          19.    The Court has personal jurisdiction over all Defendants. A substantial
14   part of the events or omissions giving rise to the claims alleged in this Complaint
15   occurred in this judicial district, as Skanda’s and 1221 Skai Investments’ principal
16   places of business are located in this judicial district. Moreover, a substantial part
17   of property (i.e., the Mustang Lane Property) that is the subject of this action is
18   situated in this judicial district. On information and belief, Defendants Skanda,
19   Karri, and 1221 Skai Investments transact all of their business in this judicial
20   district, especially as it relates to the subject matter in this action.
21          20.    Venue lies in the United States District Court for the Central District
22   of California pursuant to 28 U.S.C. §§ 1391(b), (c) and (d).
23                                           PARTIES
24          21.    Plaintiff Safety PPE LLC is incorporated under the laws of the State of
25   Florida and has its principal place of business at 1313 Ponce De Leon Boulevard,
26   Suite 200, Coral Gables, Florida 33134.
27          22.    Defendant Skanda Group of Industries LLC is a member managed
28   limited liability company organized and existing under the laws of the State of

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 1   California. Defendant Skanda is a citizen of the State of California and is located in
 2   this judicial district. Defendant Skanda has three members, each of whom resides
 3   in California.
 4         23.    Defendant Nagendra Karri is the founder and managing member of
 5   Defendant Skanda and regularly conducts business from 2029 Century Park East,
 6   Suite 400 N, Los Angeles, CA 90067 and 20940 Community Street, Canoga Park,
 7   CA 91304. Defendant Karri resides in California. Specifically, Defendant Karri
 8   resides at the Mustang Lane Property, which is a property owned in the name of the
 9   recently-formed 1221 Skai Investments.
10         24.    Defendant 1221 Skai Investments LLC is a member managed limited
11   liability company organized and existing under the laws of the State of California
12   and is located in this judicial district. Defendant 1221 Skai Investments LLC has
13   one member, who resides in India.
14         25.    Upon information and belief, Defendants Karri and Skanda used 1221
15   Skai Investments to perpetrate a fraud against Plaintiff and are the alter egos of
16   1221 Skai Investments, and vice versa. The Court should disregard the limited
17   liability company and hold 1221 Skai Investments directly liable for the injury
18   inflicted on Plaintiff and the resulting damages.
19                                    INTRODUCTION
20         26.    Plaintiff is the victim of a high-value and elaborate fraud. Specifically,
21   this action arises out of Defendants’ scheme to defraud Plaintiff of over $2.5
22   million by (1) taking advantage of the COVID-19 pandemic, (2) frustrating
23   Plaintiff’s efforts to enforce attachment orders recently entered against Skanda in
24   the Pending C.D. Cal. Action, and, (3) diverting Plaintiff’s funds in a series of
25   fraudulent transfers to a web of transferees.
26         27.    Plaintiff has considerable experience in the healthcare industry and in
27   selling personal protective equipment (PPE). One type of PPE in which Plaintiff
28   has experience is nitrile gloves, which are a specific type of disposable glove that

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 1   provides excellent protection against exposure and are particularly apt for the
 2   COVID-19 pandemic. Nitrile gloves are in high demand by healthcare workers.
 3         28.    When COVID-19 struck, Plaintiff was approached by buyers and
 4   sellers of various PPE, including buyers and sellers seeking nitrile gloves.
 5         29.    Plaintiff was interested in purchasing FDA certified nitrile gloves for
 6   sale in the United States through established channels.
 7         30.    Plaintiff, Defendant Skanda, and Defendant Karri were introduced by
 8   mutual acquaintances in the PPE business, including Skanda and Karri’s agent,
 9   Danny Hoyos (“Hoyos”).
10         31.    Based on Skanda and Karri’s representations about their ability to sell
11   to Plaintiff certain nitrile gloves meeting FDA 510(k) certification requirements
12   from specific factories in Thailand, Malaysia, Vietnam and Taiwan, on or around
13   October 2, 2020 Plaintiff entered into a “Contract for the Sale of Goods” (the
14   “Contract”) with Skanda for a continuing series of purchase orders. A copy of the
15   Contract is attached as Exhibit A.
16         32.    The Contract stated that only Plaintiff and Skanda were parties to the
17   Contract.
18         33.    Plaintiff intended to sell in the United States the nitrile gloves received
19   from Skanda pursuant to the Contract.
20         34.    After signing the Contract, and at Skanda and Karri’s specific
21   instruction, one of Plaintiff’s representatives traveled to Taiwan at Plaintiff’s own
22   expense to inspect one of these factories during the COVID-19 pandemic. Skanda
23   and Karri represented that this factory in Taiwan had given Defendants an
24   “allocation” of up to five million boxes per month of nitrile gloves meeting FDA
25   510(k) certification requirements.
26         35.    On October 14, 2020, while Plaintiff’s representative quarantined in
27   his hotel room in Taiwan waiting to conduct an inspection of the factory to
28   determine if the nitrile gloves would meet the criteria in the Contract, Plaintiff,

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 1   Defendant Skanda, and Defendant Karri entered into a modification of the Contract
 2   (the “Modification”) for Plaintiff’s purchase of one million boxes of nitrile gloves
 3   (the “Project Gloves”). A copy of the Modification is attached as Exhibit B.
 4          36.   Skanda and Karri represented that the Project Gloves would be
 5   manufactured by the specific factory Plaintiff’s representative would visit that had
 6   FDA 510k certification and where Plaintiff would inspect the Project Gloves that
 7   the factory would then manufacture pursuant to the Modification.
 8          37.   Based on the Contract, the Modification, and Skanda and Karri’s
 9   representations, on or around October 15, 2020, Plaintiff paid Skanda $2,580,000,
10   which was 30% of the entire purchase price for the one million boxes of nitrile
11   gloves. The remainder of the purchase price ($6,020,000) was to be paid by
12   Plaintiff to Skanda upon completion of the manufacturing and an industry-standard
13   inspection of the one million boxes of Project Gloves as expressly defined in the
14   Modification.
15          38.   Despite the Contract, the Modification, and the continued
16   representations of Skanda, Karri, and Hoyos, Defendants never delivered the
17   Project Gloves to Plaintiff, and Skanda and Karri refuse to return the $2,580,000 to
18   Plaintiff.
19          39.   Skanda and Karri and their attorneys acknowledge that Skanda and
20   Karri are responsible for returning $2,580,000 to Plaintiff because Skanda and Karri
21   have not delivered the Project Gloves to Plaintiff.
22          40.   Skanda and Karri induced Plaintiff to pay $2,580,000 to them based on
23   their representations, in particular that the Project Gloves were available for prompt
24   delivery to Plaintiff at the time of the Modification. On information and belief,
25   Skanda and Karri intentionally and deliberately misrepresented facts regarding (1)
26   their ability to sell and deliver to Plaintiff certain nitrile gloves meeting FDA
27   510(k) certification requirements from certain factories in Thailand, Malaysia,
28   Vietnam and Taiwan; (2) the availability of the Project Gloves; and (3) Skanda’s

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 1   “allocation” of nitrile gloves from certain factories.
 2         41.    On or around January 12, 2021, Karri claimed for the first time (1) that
 3   the $2,580,000 Plaintiff paid on October 15, 2020 was no longer in his or Skanda’s
 4   possession, (2) that he and Skanda had used the $2,580,000 for a separate purpose
 5   to fund a number of products at a third-party factory called Formosa Energy Carbon
 6   Factory (“Formosa Carbon”), and (3) that, as a result, he and Skanda no longer had
 7   access to the $2,580,000.
 8         42.    On February 11, 2021, and on subsequent dates, Plaintiff formally
 9   demanded that Skanda and Karri return the amount of $2,580,000, but Skanda and
10   Karri have refused to do so.
11         43.    Based on Skanda and Karri’s failure to deliver the Project Gloves or
12   any goods or products whatsoever, and their failure to return the $2,580,000,
13   Plaintiff commenced the Pending C.D. Cal. Action. Specifically, on May 11, 2021,
14   Plaintiff filed their complaint against Skanda and Karri, which complaint was
15   amended on August 2, 2021.
16         44.    In the Pending C.D. Cal. Action, Plaintiff alleges claims for Breach of
17   Contract and Money Had and Received. Plaintiff further alleges, inter alia, that (1)
18   Karri used Skanda to perpetrate a fraud against Plaintiff, (2) Karri is the alter ego of
19   Skanda, and (3) Karri should be held personally and directly liable for the injury
20   inflicted on Plaintiff and the resulting damages. Specifically, in the Pending C.D.
21   Cal. Action, Plaintiff requests damages in an amount to be determined at trial, but
22   not less than $2,580,000.
23         45.    In the Pending C.D. Cal. Action, Plaintiff issued formal discovery
24   requests to Skanda calling for, inter alia, the production of all documents and
25   communications concerning Skanda’s use of the $2.58 million wired to Skanda by
26   Plaintiff. On August 27, 2021, Skanda produced only limited information relating
27   to its receipt and purported use of such funds (i.e., a single Chase bank “wire
28   transfer outgoing request” dated October 30, 2020 for a wire transfer from Skanda

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 1   to Formosa Carbon, and a single page of a redacted Chase bank account statement
 2   for an account ending in 0635, reflecting only an outgoing wire transfer to Formosa
 3   Carbon on October 30, 2020 in the amount of $3.6 million). Skanda did not
 4   produce any further information concerning Skanda’s subsequent use of the $2.58
 5   million wired to Skanda by Plaintiff.
 6         46.    In the Pending C.D. Cal. Action and in response to Plaintiff’s formal
 7   discovery requests, Skanda has admitted (i) that it entered into the relevant
 8   agreements with Plaintiff for the purchase of one million boxes of nitrile gloves; (ii)
 9   that Plaintiff transferred the $2.58 million referenced herein to Skanda in October
10   2020; (iii) that Skanda never delivered any nitrile gloves to Plaintiff; and (iv) that
11   Skanda has not paid and/or returned the $2.58 million transferred by Plaintiff.
12         47.    During the Pending C.D. Cal. Action, Plaintiff conducted an
13   independent investigation (the “Investigation”) and issued non-party subpoenas in
14   furtherance of the court’s attachment orders against Skanda, as detailed below.
15         48.    Based on facts discovered during the Investigation and upon receipt of
16   non-party production from Chase bank (the “Chase Production”), Plaintiff now
17   brings this action seeking to avoid Skanda and Karri’s series of fraudulent transfers
18   of Plaintiff’s $2.58 million to various transferees.
19                               FACTUAL ALLEGATIONS
20         49.    This is an action to set aside voidable transfer, for conspiracy to
21   commit voidable transfer, and for a declaration that 1221 Skai Investments is an
22   alter ego of Skanda and Karri (and vice versa).
23         50.    In the Pending C.D. Cal. Action:
24                   a. On August 16, 2021, Plaintiff filed an ex parte application for a
25                       right to attach order, temporary protective order, and order for
26                       issuance of writ of attachment against Skanda (the “Attachment
27                       Application”);
28                   b. On August 17, 2021, Skanda filed an opposition to the

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 1                      Attachment Application;
 2                   c. On August 17, 2021, U.S. Magistrate Judge Patricia Donahue
 3                      ordered Skanda to file any opposition to the Attachment
 4                      Application on or before September 1, 2021, with a hearing to
 5                      be held on September 13, 2021;
 6                   d. On September 1, 2021, Skanda filed its opposition to the
 7                      Attachment Application;
 8                   e. On September 8, 2021, Plaintiff filed its reply in support of the
 9                      Attachment Application;
10                   f. On September 13, 2021, Magistrate Judge Donahue held a
11                      hearing on Plaintiff’s Attachment Application and ordered the
12                      parties to submit (1) supplemental briefing on the appropriate
13                      amount of an undertaking, and (a) for Plaintiff, evidence of its
14                      attorneys’ fees and costs, and (b) for Skanda, any opposition to
15                      the amount of the attorneys’ fees;
16                   g. Following that briefing, on September 27, 2021, Magistrate
17                      Judge Donahue granted Plaintiff’s Attachment Application
18                      against Skanda in the amount of $2,806,833.58, including
19                      attorneys’ fees and costs;
20                   h. On October 4, 2021, Plaintiff posted an undertaking on in the
21                      amount of $10,000, as ordered by the court;
22                   i. On October 4, 2021, Plaintiff filed requests for a writ of
23                      attachment and right to attach order against Skanda;
24                   j. On October 5, 2021, Magistrate Judge Donahue entered (1) the
25                      “Right to Attach Order and Order for Issuance of Writ of
26                      Attachment after Hearing” against Skanda (the “Right to Attach
27                      Order”); and (2) the “Writ of Attachment after Hearing” against
28                      Skanda (the “Writ of Attachment”), both in the amount of

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 1                       $2,806,833.58;
 2                   k. On November 8, 2021, DDS Legal Support, Plaintiff’s court-
 3                       approved process server, served the Writ of Attachment on
 4                       Chase Bank;
 5                   l. On December 7, 2021, the U.S. Marshals Service filed the
 6                       corresponding proof of service with the Court; and
 7                   m. On or around December 20, 2021, the U.S. Marshals Service
 8                       informed the office of Plaintiff’s counsel that they had attached
 9                       the assets of Skanda located at Chase Bank, but that the amount
10                       was less than $500.
11          51.   The Investigation has revealed the following facts:
12                a. On August 27, 2021—11 days after Plaintiff filed its Attachment
13                   Application in the Pending C.D. Cal. Action—1221 Skai
14                   Investments was incorporated in California. A copy of the publicly
15                   available LLC Registration/Articles of Organization for 1221 Skai
16                   Investments, which was filed with the California Secretary of State,
17                   is attached hereto as Exhibit C;
18                b. The sole Member and President of 1221 Skai Investments appears to
19                   be one Sujatha Karri, who appears to reside in India. A copy of the
20                   publicly available Statement of Information for 1221 Skai
21                   Investments, which was filed with the California Secretary of State,
22                   is attached hereto as Exhibit D;
23                c. Upon information and belief, Sujatha Karri is the mother of
24                   Defendant Karri;
25                d. On October 8, 2021—11 days after the Court granted Plaintiff’s
26                   Attachment Application and three (3) days after the Court entered
27                   the Right to Attach Order and Writ of Attachment against Skanda—
28                   1221 Skai Investments purchased the Mustang Lane Property;

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 1                e. 1221 Skai Investments purchased the Mustang Lane Property for
 2                   $2,550,000 (the “Mustang Lane Purchase Price”), an amount that
 3                   corresponds almost exactly with the $2,580,000 wired to Skanda by
 4                   Plaintiff. A copy of the Mustang Lane Property Detail Report is
 5                   attached hereto as Exhibit E;
 6                f. Upon information and belief, the Mustang Lane Property is the only
 7                   property owned by 1221 Skai Investments; and
 8                g. Upon information and belief, Karri is associated with and resides at
 9                   the Mustang Lane Property.
10          52.    The information described in paragraphs 51(a) through (g) above was
11    never disclosed by Skanda or Karri in the Pending C.D. Cal. Action or otherwise.
12          53.    As of the date of this filing, Skanda and Karri have failed to disclose
13    any assets to satisfy the Writ of Attachment, other than a single Chase bank account
14    with less than $500 at the time of attachment.
15          54.    According to the Chase Production:
16                    a. Skanda received a refund in the amount of $3.6 million from
17                       Formosa Carbon on January 5, 2021 (the “Formosa Refund”);
18                    b. Beginning six (6) days after the Formosa Refund and through
19                       May 19, 2021, Skanda transferred at least $519,450 to Coinbase,
20                       a cryptocurrency exchange platform, in a total of 18 known
21                       transfers (the “Coinbase Transfers”);
22                    c. The Coinbase Transfers include “Ind Name: Nagendra Karri” in
23                       the bank statement transfer descriptions;
24                    d. Following the Formosa Refund, Skanda transferred
25                       approximately $65,000 to Chetna Jhamb, the other manager of
26                       Skanda;
27                    e. Following the Formosa Refund, Skanda transferred a total of
28                       approximately $693,500 to an unidentified account ending in -

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 1                      8075 ($693,000 of which was transferred in the months leading
 2                      to 1221 Skai Investments’ acquisition of the Mustang Lane
 3                      Property);
 4                         i. To date, this same account ending in -8075 has transferred
 5                            a total of approximately $37,700 to Nagendra Karri’s
 6                            individual Chase account.
 7                   f. Following the Formosa Refund, Skanda transferred a total of
 8                      approximately $1,325,000 to an unidentified account ending in -
 9                      7860 (all of which was transferred in the months leading to 1221
10                      Skai Investments’ acquisition of the Mustang Lane Property);
11                         i. To date, this same account ending in -7860 has transferred
12                            a total of approximately $115,750 to Nagendra Karri’s
13                            individual Chase account.
14                   g. Following the Formosa Refund, Skanda transferred a total of
15                      approximately $780,200 to an unidentified account ending in -
16                      3811 ($585,000 of which was transferred in the months leading
17                      to 1221 Skai Investments’ acquisition of the Mustang Lane
18                      Property);
19                         i. To date, this same account ending in -3811 has transferred
20                            a total of approximately $9,000 to Nagendra Karri’s
21                            individual Chase account.
22                   h. Following the Formosa Refund, Skanda transferred a total of
23                      approximately $210,300 to another Chase bank account owned
24                      by Skanda (ending in -0668), which account was not disclosed
25                      in response to Plaintiff’s discovery requests in the Pending C.D.
26                      Cal. Action; and
27                   i. Following the Formosa Refund, Skanda transferred a total of
28                      approximately $58,825 to another Chase bank account owned by

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 1                          Skanda (ending in -1960), which account was also not disclosed
 2                          in response to Plaintiff’s discovery requests in the Pending C.D.
 3                          Cal. Action.
 4                       j. On September 16 and 17, 2021, Nagendra Karri transferred
 5                          approximately $279,000 to Sujatha Karri (the “Sujatha
 6                          Transfers”), the sole Member and President of 1221 Skai
 7                          Investments;
 8                              i. The Sujatha Transfers occurred (i) after Plaintiff filed the
 9                                 Attachment Application in the Pending C.D. Cal Action,
10                                 (ii) after the formation of 1221 Skai Investments, and (iii)
11                                 approximately three (3) weeks before 1221 Skai
12                                 Investments purchased the Mustang Lane Property.
13                                  FIRST CAUSE OF ACTION
14    To Set Aside Voidable Transfer Pursuant to Cal. Code Civ. Proc. § 3439 et seq.
15                                  (Defendant Nagendra Karri)
16          55.       Plaintiff incorporates all of the above paragraphs as though fully set
17    forth herein.
18          56.       Upon information and belief, after the Formosa Refund, Defendants
19    Skanda and/or Karri caused the transfer of all or a portion of Plaintiff’s $2.58
20    million by way of the Coinbase Transfers.
21          57.       At the time of the Coinbase Transfers, Plaintiff was Skanda and
22    Karri’s creditor.
23          58.       Upon information and belief, including as a result of Skanda’s inability
24    to return the funds that are the subject of the Pending C.D. Cal. Action, and as
25    reflected in several pending litigation cases filed against Skanda and/or Karri in
26    various jurisdictions in the United States, Defendants Skanda and Karri are
27    generally not paying their debts as they become due.
28          59.       Further, during the course of the Pending C.D. Cal. Action, Skanda

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 1    and Karri have represented that Skanda does not have assets sufficient to pay the
 2    amounts owed to Plaintiff.
 3          60.    Upon information and belief, the Coinbase Transfers were made with
 4    actual intent to hinder, delay, or defraud Skanda and Karri’s creditors, and reflect
 5    numerous badges of fraud, including the following:
 6                 1) the transfers were sent to a Coinbase account (the “Coinbase
 7                    Account”) which, upon information and belief, belongs and/or is
 8                    controlled by Karri, the Founder and Managing Member of Skanda
 9                    (i.e., an insider);
10                 2) Skanda and/or Karri, as the apparent owners of the Coinbase
11                    account, retained possession or control of the property transferred
12                    after the transfers;
13                 3) the transfers were concealed and not disclosed;
14                 4) the transfers occurred after Skanda and Karri had been sued,
15                    threatened with suit, or demanded by Plaintiff to return Plaintiff’s
16                    $2.58 million; and
17                 5) Skanda and/or Karri removed and concealed assets away from the
18                    reach of Plaintiff.
19          61.    Upon information and belief, the value of the consideration received in
20    exchange for the Coinbase Transfers was not reasonably equivalent to the value of
21    such transfers, which were made at a time when Skanda and/or Karri (i) was
22    insolvent, (ii) was engaged or was about to engage in a business or a transaction for
23    which its remaining assets were unreasonably small in relation to the business or
24    transaction, and/or (iii) intended to incur, or believed or reasonably should have
25    believed that it would incur, debts beyond its ability to pay as they became due.
26          62.    By reason of the foregoing, Plaintiff is entitled to relief pursuant to
27    Cal. Code Civ. Proc. § 3439.07, including but not limited to:
28          a.     Avoidance of the Coinbase Transfers;

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 1          b.        An attachment or other provisional remedy against the asset
 2    transferred or other property of the transferee, including the Coinbase Account, in
 3    accordance with the procedures described in Title 6.5 (commencing with Section
 4    481.010) of Part 2 of the Code of Civil Procedure, or as may otherwise be available
 5    under applicable law;
 6          c.        An injunction against further disposition or hypothecation of the
 7    Coinbase Account by Defendants or anyone acting in concert with Defendants; and
 8          d.        Appointment of a receiver to take charge of the Coinbase Account
 9    or other property of the transferee.
10                                SECOND CAUSE OF ACTION
11    To Set Aside Voidable Transfer Pursuant to Cal. Code Civ. Proc. § 3439 et seq.
12                              (Defendant 1221 Skai Investments)
13           63. Plaintiff incorporates all of the above paragraphs as though fully set
14    forth herein.
15          64.       Upon information and belief, after the Formosa Refund, Defendants
16    Skanda and/or Karri caused the transfer of all or a portion of Plaintiff’s $2.58
17    million to 1221 Skai Investments—including through transfers made to that entity’s
18    sole member, Nagendra Karri’s mother, pursuant to the Sujatha Transfers and
19    pursuant to the Bulk Account Transfers (as defined below)—which were used by
20    1221 Skai Investments to purchase the Mustang Lane Property (the “Transfers to
21    1221 Skai Investments”).
22          65.       At the time of the Transfers to 1221 Skai Investments, Plaintiff was
23    Skanda and Karri’s creditor.
24          66.       Upon information and belief, including as a result of Skanda’s inability
25    to return the funds that are the subject of the Pending C.D. Cal. Action, and as
26    reflected in several pending litigation cases filed against Skanda and/or Karri in
27    various jurisdictions in the United States, Defendants Skanda and Karri are
28    generally not paying their debts as they become due.

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 1          67.   Further, during the course of the Pending C.D. Cal. Action, Skanda
 2    and Karri have represented that Skanda does not have assets sufficient to pay the
 3    amounts owed to Plaintiff.
 4          68.   Upon information and belief, the Transfers to 1221 Skai Investments
 5    were made with actual intent to hinder, delay, or defraud Skanda and Karri’s
 6    creditors, and reflect numerous badges of fraud, including the following:
 7                1) Karri transferred approximately $279,000 to his blood relative, his
 8                    mother (the sole Member and President of 1221 Skai Investments)
 9                    three weeks before 1221 Skai Investments bought the Mustang
10                    Lane Property;
11                2) the Chase Production reflects online transfers (in round numbers
12                    that are not associated with any invoice or transaction) from
13                    Skanda’s account to three unidentified accounts (ending in -8075, -
14                    7860, and -3811) totaling approximately $2,603,000 (the “Bulk
15                    Account Transfers”), all of which were made after Skanda received
16                    a refund of Plaintiff’s $2.58 million, and all of which were made
17                    prior to 1221 Skai Investments’ acquisition of the Mustang Lane
18                    Property for $2.55 million;
19                3) Karri uses the Mustang Lane Property as his personal residence;
20                4) the transfers were not disclosed and Skanda and/or Nagendra
21                    Karri’s interest in the property was concealed by virtue of the 1221
22                    Skai Investments ownership structure;
23                5) the transfers were made either (i) after commencement of the
24                    Pending C.D. Cal. Action against Skanda and Nagendra Karri, (ii)
25                    after Plaintiff’s filing of the Attachment Application in the Pending
26                    C.D. Cal. Action, and/or (iii) after entry of the Right to Attach
27                    Order and Writ of Attachment against Skanda in the Pending C.D.
28                    Cal. Action;

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 1                 6) Skanda and/or Karri removed and concealed assets away from the
 2                     reach of Plaintiff;
 3                 7) 1221 Skai Investments was formed after Plaintiff filed the
 4                     Attachment Application in the Pending C.D. Cal. Action; and
 5                 8) the value of the consideration received by Skanda from Plaintiff
 6                     ($2.58 million) was reasonably equivalent to the value of the
 7                     Transfers to 1221 Skai Investments for the purchase of the Mustang
 8                     Lane Property.
 9          69.    Upon information and belief, the value of the consideration received in
10    exchange for the Transfers to 1221 Skai Investments were not reasonably
11    equivalent to the value of such transfers, and were made at a time when each of the
12    Defendants (i) was insolvent, (ii) was engaged or was about to engage in a business
13    or a transaction for which its remaining assets were unreasonably small in relation
14    to the business or transaction, and/or (iii) intended to incur, or believed or
15    reasonably should have believed that it would incur, debts beyond its ability to pay
16    as they became due.
17          70.    By reason of the foregoing, Plaintiff is entitled to relief pursuant to
18    Cal. Code Civ. Proc. § 3439.07, including but not limited to:
19          e.     Avoidance of the Transfers to 1221 Skai Investments;
20          f.     An attachment or other provisional remedy against the asset
21    transferred or other property of the transferee, including the Mustang Lane
22    Property, in accordance with the procedures described in Title 6.5 (commencing
23    with Section 481.010) of Part 2 of the Code of Civil Procedure, or as may otherwise
24    be available under applicable law;
25          g.     An injunction against further disposition or hypothecation of the
26    Mustang Lane Property by Defendants or anyone acting in concert with Defendants;
27    and
28

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 1          h.        Appointment of a receiver to take charge of the Mustang Lane Property
 2    or other property of the transferee.
 3                                 THIRD CAUSE OF ACTION
 4                 CONSPIRACY TO COMMIT VOIDABLE TRANSFER
 5                          (Defendants Nagendra Karri and Skanda)
 6          71.       Plaintiff incorporates all of the above paragraphs as though fully set
 7    forth herein.
 8          72.       Upon information and belief, Defendants Skanda and Karri agreed to
 9    commit a tortious act, to wit: to effectuate the Coinbase Transfers from Skanda to
10    Karri with the intent to defraud, hinder, or delay Skanda’s creditors.
11          73.       Defendants Skanda and Karri committed a wrongful act in furtherance
12    of that agreement.
13          74.       Plaintiff suffered damages as a result of Defendants Skanda and
14    Karri’s conspiracy to commit fraud by effecting the Coinbase Transfers.
15          75.       Plaintiff therefore seeks a judgment holding Defendants Skanda and
16    Karri liable in the amount of the Coinbase Transfers.
17                               FOURTH CAUSE OF ACTION
18                 CONSPIRACY TO COMMIT VOIDABLE TRANSFER
19                                        (All Defendants)
20          76.       Upon information and belief, Defendants Skanda, Karri, and 1221
21    Skai Investments agreed to a common plan to commit a tortious act, to wit: to
22    effectuate the Transfers to 1221 Skai Investments from Skanda and/or Karri to 1221
23    Skai Investments with the intent to defraud, hinder, or delay Skanda and/or Karri’s
24    creditors.
25          77.       Defendants Skanda, Karri, and 1221 Skai Investments committed a
26    wrongful act in furtherance of that agreement.
27
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 1          78.       Plaintiff suffered damages as a result of Defendants Skanda, Karri,
 2    and 1221 Skai Investments’ conspiracy to commit fraud by effecting the Transfers
 3    to 1221 Skai Investments.
 4          79.       Plaintiff therefore seeks a judgment holding Defendants Skanda, Karri,
 5    and 1221 Skai Investments liable in the amount of the Transfers to 1221 Skai
 6    Investments.
 7                                 FIFTH CAUSE OF ACTION
 8                                   ALTER EGO LIABILITY
 9                                         (All Defendants)
10          80.       Plaintiff incorporates all of the above paragraphs as though fully set
11    forth herein.
12          81.       Ms. Sujatha Karri, who, upon information and belief, is Defendant
13    Nagendra Karri’s mother, is the sole member and manager of Defendant 1221 Skai
14    Investments.
15          82.       In addition to (1) the intra-family transfers by Karri to his mother,
16    totaling $279,000, before 1221 Skai Investments’ acquisition of the Mustang Lane
17    Property; and (2) Karri’s use of the only property owned by 1221 Skai Investments
18    as his personal home, the Chase Production also reveals that Skanda (via two of its
19    accounts) transferred approximately $8,500 to Sabu Syriac, the registered agent of
20    1221 Skai Investments, shortly before 1221 Skai Investments’ acquisition of the
21    Mustang Lane Property.
22          83.       Upon information and belief, 1221 Skai Investments is not an
23    operating company, but a mere shell company that Defendants Skanda and Karri,
24    who are alter egos, use as a conduit to shield Skanda and Karri’s assets from their
25    creditors, including Plaintiff.
26          84.       Upon information and belief, Skanda and Karri commingle their funds
27    and assets with 1221 Skai Investments.
28          85.       Upon information and belief, Skanda and Karri used 1221 Skai

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 1    Investments to hinder, delay, and defraud their creditors, and the sole purpose of
 2    1221 Skai Investments is to shield Skanda and Karri’s assets from their creditors,
 3    including Plaintiff.
 4          86.      1221 Skai Investments’ separate existence would work a fraud or
 5    injustice upon Plaintiff, because, upon information and belief, Defendants Skanda
 6    and Karri utilized 1221 Skai Investments merely as a shell entity to acquire the
 7    Mustang Lane Property; and Karri and Skanda, acting through Karri, have
 8    disregarded the separate company existence of 1221 Skai Investments, as Karri uses
 9    that entity’s sole asset, i.e., the Mustang Lane Property, as his personal residence.
10          87.      Plaintiff therefore seeks a judgment from this Court declaring that
11    1221 Skai Investments is obligated for Skanda and Karri’s debts to Plaintiff as an
12    alter ego of Skanda and Karri.
13                                   PRAYER FOR RELIEF
14          WHEREFORE, Plaintiff respectfully requests the following relief:
15          88.      Judgment in Plaintiff’s favor and against Defendants on all causes of
16    action alleged herein;
17          89.      For an avoidance of the Coinbase Transfers and Transfers to 1221 Skai
18    Investments;
19          90.      For an attachment or continuation of any other provisional remedy
20    against the Coinbase Account and the Mustang Lane Property as may be available
21    under applicable law;
22          91.      For appointment of a receiver to take charge of the Coinbase Account
23    and the Mustang Lane Property, dispose, market and sell such property and any and
24    all assets contained within such property;
25          92.      For the remedy of a constructive trust for Plaintiff’s benefit over the
26    Coinbase Account and the Mustang Lane Property and any and all proceeds from
27    the sale, hypothecation or other disposition of the Coinbase Account and Mustang
28    Lane Property;

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 1           93.     For an injunction against further disposition or hypothecation of the
 2    Coinbase Account and the Mustang Lane Property by Defendants;
 3           94.     For a judgment declaring 1221 Skai Investments liable for all of
 4    Skanda’s and/or Karri’s debts to Plaintiff, including in the amount of a minimum of
 5    $2,580,000, as an alter ego of Skanda and/or Karri and for a monetary judgment in
 6    said amount;
 7           95.     For costs of suit incurred herein;
 8           96.     For prejudgment interest;
 9           97.     For attorneys’ fees and costs;
10           98.     For punitive damages; and
11           99.     For such other and further relief as the Court may deem to be just and
12    proper.
13                                DEMAND FOR JURY TRIAL
14           Plaintiff hereby demands trial by jury for all causes of action, claims or
15    issues in this action that are triable as a matter of right.
16
      Date: March 18, 2022
17
                                                 Respectfully submitted,
18
19                                               /s/ Jeremy T. Elman
20                                               JEREMY T. ELMAN (SBN 223696)
                                                 Jeremy.Elman@allenovery.com
21                                               ALLEN & OVERY LLP
22                                               10250 Constellation Blvd, Suite 1000
                                                 Los Angeles, California 90067
23                                               Telephone: (650) 388-1650
24                                               Facsimile: (650) 388-1699
25                                               FERNANDO J. MENENDEZ, JR. (pro hac
26                                               vice application forthcoming)
                                                 fmenendez@sequorlaw.com
27                                               FRANCIS CURIEL (pro hac vice
28                                               application forthcoming)

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 1                                       fcuriel@sequorlaw.com
                                         SEQUOR LAW
 2                                       1111 Brickell Avenue, Suite 1250
 3                                       Miami, FL 33131
                                         Telephone: (305) 372-8282
 4                                       Facsimile: (305) 372-8202
 5
                                         Attorneys for Plaintiff SAFETY PPE, LLC
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